                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

In re:
                                                                     Case No. 11-56761
         RACHEL CASSIEL WHEELER,                                     Chapter 7
                                                                     Hon. Walter Shapero
            Debtor.
_________________________________/

RACHEL CASSIEL WHEELER,

                Plaintiff,

v.                                                                   Adv. Pro. No. 11-05899

WELLS FARGO & CO., et al.,

                Defendants.

_________________________________/

               OPINION SUPPLEMENTING BENCH OPINION GRANTING
                     MOTION FOR ABSTENTION (Docket No. 17)

         On March 15, 2012, this Court ruled from the bench granting the motion for abstention

pursuant to 28 U.S.C. § 1334(c)(1). This opinion supplements that ruling.

         The following is the relevant procedural background of this adversary proceeding:

         (1)    On June 16, 2011, Rachel Wheeler (“Plaintiff”) filed a chapter 7 petition in this

                Court (Case No. 11-56761).

         (2)    At the time, there was pending in the United States District Court for the Eastern

                District of Michigan an action by Plaintiff to set aside a foreclosure involving her

                residence (Case No. 11-11087), which was originally filed on March 16, 2011; on

                June 24, 2011, Plaintiff removed that case to this Court.




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   (3)   Contemporaneously, Plaintiff filed in this Court a document entitled “Complaint”

         and also a second complaint instituting this adversary proceeding (Case No. 11-

         5899).

   (4)   In both complaints, Plaintiff seeks similar relief – to set aside a residential

         foreclosure for real property that she formerly owned at 16330 Edwards, Southfield,

         Michigan 48076 (“Property”) – on similar grounds – as a result of alleged defects in

         the foreclosure by advertisement process of the mortgage that formerly encumbered

         the Property. The basic timeline is that the sheriff’s sale occurred in August of 2010

         and the equity of redemption was to expire on or about the date Plaintiff initially

         filed the referred to District Court case.

   (5)   On July 8, 2011, after Plaintiff amended her schedules to disclose the complaints,

         and after the conference under 11 U.S.C. § 341, the trustee in the chapter 7 case,

         Gene Kohut (“Trustee”), filed a notice of no assets and no distribution; stating he

         made a diligent inquiry into the financial affairs of Plaintiff and the location of any

         property belonging to the estate, and that despite those efforts, there is no property

         available for distribution from the estate over and above that exempted by law. This

         report was certified in connection with Fed.R.Bankr.P. 5009, and the Trustee has

         thus represented to the Court that Plaintiff’s estate has been fully administered. The

         Trustee also then requested to be discharged from any further duties as trustee and

         the case be closed.

   (6)   Insofar as the status of Plaintiff’s District Court case is concerned, that Court noted

         its removal to this Court, and Plaintiff asserts that she voluntarily dismissed that


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               case. The docket of that case so reflects Plaintiff’s assertion in an order dated

               August 16, 2011 (Docket No. 22):

                                Order Accepting Plaintiff’s Voluntary Dismissal

                               This matter came before the Court on Plaintiff Rachel
                               Cassiel Wheeler’s notice to voluntarily dismiss her
                               case. . . . Plaintiff has filed the required notice,
                               seeking dismissal due to her filing for Chapter 11
                               bankruptcy. Defendants have filed a motion to
                               dismiss, but have not filed an answer or a motion for
                               summary judgment. Although her bankruptcy
                               proceeding automatically stays any judicial
                               proceedings pursuant to 11 U.S.C. § 362(a)(1),
                               Plaintiff still has the ability to voluntarily dismiss this
                               case without violating that stay.              The Court
                               recognizes that, here, Plaintiff is the one who has filed
                               for bankruptcy and now she is seeking to voluntarily
                               dismiss her suit against Defendants . . . . [T]he Court
                               . . . therefore GRANTS her request and DISMISSES
                               this case WITHOUT PREJUDICE.

               (Citations omitted.)

       28 U.S.C. § 1334(c)(1) provides:

               Except with respect to a case under chapter 15 of title 11, nothing in
               this section prevents a district court in the interest of justice, or in the
               interest of comity with State courts or respect for State law, from
               abstaining from hearing a particular proceeding arising under title 11
               or arising in or related to a case under title 11.

This is the so-called permissive abstention statute, as opposed to the mandatory abstention provision

of § 1334(c)(2). By its terms it is somewhat broader, because by its very language it covers a

particular proceeding “arising under title 11 or arising in or related to a case under title 11.” Thus

even a core proceeding is subject to permissive abstention.

       The factors a court is to consider and weigh in deciding permissive abstention have been well

and often articulated. See, e.g., Bavelis v. Doukas (In re Bavelis), 453 B.R. 832, 881-82 (Bankr.

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S.D. Ohio 2011). In this case, the indicated facts show that (1) not granting abstention will have an

adverse effect on the administration of the bankruptcy estate since for all intents and purposes it is

fully administered and ready to be closed; (2) state law issues predominate and indeed may be the

only issues; (3) the outcome is remote to the main bankruptcy case; (4) this Court has a heavy

docket; (5) there is a considerable likelihood, given the recited procedural history, that forum

shopping is involved; (6) though it is not clear, there might be a jury trial right, to the extent the

issues are other than pure legal ones; (7) there are present in this proceeding a fair number of non-

debtor parties; and (8) if state law is not settled on the relevant issues, it is at the very least the

subject of a number of state court cases interpreting that law and public policy considerations favor

having those issues settled by those courts, see, e.g., Residential Funding Co. v. Saurman, 805

N.W.2d 452 (Mich. 2011) and Piotrowski v. State Land Office Bd., 4 N.W.2d 514 (Mich. 1942).1

        Both complaints essentially seek to set aside a foreclosure sale that was completed under

Michigan’s foreclosure by advertisement statute, MCL § 600.3201, et seq. Disposition of those

issues are not issues of bankruptcy law. No claim or issue in either of the complaints even mentions

the Bankruptcy Code or any relation of the Bankruptcy Code as bearing on the stated causes of

action. This Court has no unique knowledge that will help adjudicate such proceeding. In contrast,

whether the foreclosure sale of the Property should, or could, be set aside is an issue that turns



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         There are also many federal district court cases that have rendered decisions in this area of the
law. See, e.g., Kama v Wells Fargo Bank, 2010 U.S. Dist. LEXIS 115543 (E.D. Mich. 2010) and Smith
v. Wells Fargo Home Mortgage, Inc., 2010 U.S. Dist. LEXIS 133957 (E.D. Mich. 2010). In that regard,
it might also be noted that this Court, while it is not in any way ruling on the merits of Plaintiff’s claims,
does note that in situations where it has had to rule on similar claims, mostly in the context of lift stay
motions, it has pointed to holdings of the state courts to the effect that one attacking a foreclosure by
advertisement sale procedure may be prejudiced in attempting to do so if, as in this case, one waits until
the eve of the expiration of the redemption period before taking any action, i.e., such actions must be
more timely brought.

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exclusively on the application of § 600.3201, et seq., and state law. Thus, it makes much more sense

to defer to those Courts closest to, and most familiar with, the operative statute and applicable law.

       Thus, substantially all of the factors (and certainly the predominant ones) this Court should

consider weigh in favor of abstention. Accordingly, the Court grants the motion.




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                                   Signed on March 16, 2012
                                                    /s/ Walter Shapero
                                                Walter Shapero
                                                United States Bankruptcy Judge




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